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                             UNITED STATES DISTRICT COURT
                                                                                    RiCtiA-, D^'t:i. :'.n
                                                                                     pl . -;-., -". -. ;", ~;;

                              SOUTHERN DISTRICT OF OHIO
                                   EASTERNDIVISION                                70^HAR-6 AM 9:5


 UNITED STATES OF AMERICA                             CASE NO.                     ' . "s ;lv'. :;n' -:MP'i:

                Plaintiff,                                                 ^^^-C^-^B
        V.
                                                      JUDGE                  (YXurbte^
                                                      INFORMATION
 JEREMIAH MORRISON
                                                     18 U. S. C. § 1462
                Defendant.                           18 U. S. C. §§ 2252(a)(2) & (b)(l)
                                                     18 U. S. C. §§ 2252(a)(4)(B) «& (b)(2)

                                                      FORFEITURE ALLEGATIONS




THE UNITED STATES ATTORNEY CHARGES:

                                         COUNT ONE
                               (Distribution of Child Pornography)

       1.      In or about January 2023, in the Southern District of Ohio, the defendant,

JEREMIAH MORRISON, having been previously convicted of an offense under the laws of

Ohio relating lo the aggravated sexual abuse, sexual abuse, or abusive sexual conduct involving a

minor or ward - that is, in the Franklin County Court of Common Pleas, case number

11CR6000, by Judgment Entry dated March 30, 2012, for Voyeurism of a Minor, in violation of

Ohio Revised Code Section 2907. 08 - did knowingly distribute one or more visual depictions

using any means and facility of interstate and foreign commerce, including the internet and a

cellular phone, the production of such visual depictions having involved the use of a minor

engagingin sexually explicit conduct, as definedin 18 U. S.C. § 2256(2)(A), and such depictions

being of such conduct, to wit: digital image and video files depicting prepubescent and toddler
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agedor infant children engagedin sex acts with adults, subjected to sadistic and masochistic

abuse, masturbation, and the lascivious exhibition of their genitalia, anus, and pubic region.

       In violation of 18 U. S. C. §§ 2252(a)(2) & (b)(l).

                                          COUNT TWO
                                (Possession of Child Pornography)

       2.      On or about June 22, 2023, in the Southern District of Ohio, the defendant,

JEREMIAH MORRISON, having been previously convicted of an offense under the laws of

Ohio relating to the aggravated sexual abuse, sexual abuse, or abusive sexual conduct involving a

minor or ward - that is, in the Franklin County Court of Common Pleas, case number

11CR6000,by JudgmentEntry dated March 30, 2012, for Voyeurism of a Minor, in violation of

Ohio Revised Code Section 2907.08 - knowingly possessedmatter, that is, digital mediadevices

that contained one or more visual depictions, the production of such visual depictions having

involved the use ofminors engagingin sexually explicit conduct, as defined in 18 U. S.C. §

2256(2)(A), and such visual depictions being of such conduct, and such visual depictions had

beenmailed, shipped or transported using any means or facility of interstate or foreign

commerce or in or affecting interstate or foreign commerce.

       In violation of 18 U. S. C. §§ 2252(a)(4)(B) & (b)(2).

                                        COUNTTHREE
                               (Transportation of Obscene Matters)

       3.      Between May 2023 and June 2023, in the Southern District of Ohio, the

defendant, JEREMIAHMORRISON,did knowingly transport or receive in interstate or

foreign commerce, via an interactive computer service, an obscenematter, to wit: a visual

depiction ofan approximately six-year-oldfemale nude on her backand with her arms

dismemberedand her head decapitated.
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       In violation of 18 U. S. C. § 1462.

                               FORFEITURE ALLEGATION A

       4.      The allegations ofthis Information are hereby rcalleged and incorporatedherein

by reference for the purpose of alleging forfeitures to the United States of America pursuant to

18U. S. C. §2253.

       5.      Upon conviction of an offense in violation of 18 U. S.C. § 2252 as alleged in this

Information, the defendant, JEREMIAH MORRISON, shall forfeit to the United States, in

accordancewith 18 U. S.C. § 2253(a)(l) and (3):

               (a)     all matter containing visual depictions or child pornography and
                       child erotica, transported, mailed, shipped, or possessed in violation
                       ofl8U. S. C. §2252;and

               (b)     all property usedor intendedto be usedto commit or to promote the
                       commission of a violation of 18 U. S. C. § 2252, including, but not
                       limited to the following:

                             A Samsung Galaxy A32 5G cellular telephone, bearing Serial
                             Number RFCR91VWEPB, including its contents;
                       11.   A Samsung Galaxy J7 Prime cellular telephone, bearing Serial
                             Number I^28JA3WL62II, including its contents;
                      111.   Four Micro SD cards, including their contents; and
                      IV.    An Ohn USB drive, including its contents.

       Forfeiture notice in accordancewith 18 U. S.C. § 2253(a)(l) and (3) and Rule 32.2 of
the Federal Rules of Criminal Procedure.



                               FORFEITUREALLEGATION B

       6.      The allegations of this Information are hereby realleged and incorporated herein

by reference for the purpose of alleging forfeitures to the United States of America pursuant to

18U. S. C. § 1467.
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       7.      Upon conviction of an offensc in violation of 18 U. S.C. § 1462 as alleged in this

Information, the defendant, JEREMIAHMORRISON,shall forfeit to the United States, in

accordance with 18 U. S. C. § 1467(a)(l) through (3):

               (a)     all obscene material produced, transported, mailed, shipped, or
                       received in violation of 18 U. S. C. § 1462;

               (b)     all property, real or personal, constituting or traceable to gross
                       profits or other proceeds obtained from an offense in violation of 18
                       U. S. C. § 1462; and

               (c)     all property, real or personal, used or intended to be used to commit
                       or to promote the commission of a violation of 18 U. S. C. § 1462,
                       including, but not limited to, the following:

                       v.    A Samsung Galaxy A32 5G cellular telephone, bearing Serial
                             Number RFCR91VWEPB, including its contents;
                      vi.    A Samsung Galaxy J7 Prime cellular telephone, bearing Serial
                             Number R28JA3WL62PI, including its contents;
                      vii.   Four Micro SD cards, including their contents; and
                     viii.   An Ohn USB drive, including its contents.

       Forfeiture notice in accordancewith 18 U. S.C. § 1467(a)(l)-(3) and Rule 32.2 of the
Federal Rules of Criminal Procedure.



                                              KENNETH L. PARKER
                                              United States Attorney

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                                              EMILY CZERNIEJEWSKI (IL 6308829)
                                              Assistant United States Attorney
